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                  IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                    No. 4:12-cr-55–DPM

RYAN O’NEAL                                                                          DEFENDANT

                              Sentencing Scheduling Order

       Sentencing is set for August 28, 2013 at 11:00 a.m. in Courtroom B-155.

So the Court and all parties can prepare for the hearing, the Court sets the

following schedule.

•    Final PSR, including
     responses to objections,
     circulated . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14 August 2013

•    Motions to depart or
     vary and sentencing
     memoranda filed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18 August 2013

•    Joint notice by filing
     about witnesses,
     estimated hearing length,
     likelihood of third point,
     and applicability of
     safety valve . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18 August 2013

•    Responses to any
     departure or variance
     motions and responding
     memoranda filed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21 August 2013
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If any of these deadlines is not met, then the sentencing will be continued

absent extraordinary circumstances.

     So Ordered.



                                        D.P. Marshall Jr.
                                        United States District Judge

                                        26 April 2013
